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                                                                               May 9, 2019


By ECF

Honorable Lorna G. Schofield
United States District Judge
United States District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

        Re:            Peter Nygård et al. v. Louis Bacon, 19 Civ. 1559 (LGS)
                       Consent Request to Adjourn Pre-trial Conference to June 6, 2019

Dear Judge Schofield:

       We represent Defendant Louis Bacon in this matter. We write to request that the Court
adjourn the initial pre-trial conference that was recently scheduled for May 16, 2019. We have
conferred with opposing counsel, who consent to this request and advise that they are available
June 4-7, 2019. We understand that the Court often schedules such conferences on Thursdays,
and the parties would welcome a June 6 date if that is convenient for the Court.

         For background, this conference was originally scheduled for April 18, and the Court then
continued it once so that Plaintiffs’ response to Defendant’s letter requesting leave to move to
dismiss would be on file before the conference, and continued it to its current date because the
Court had a scheduling conflict. Dkt. Nos. 8, 20, & 22. Defendant seeks this continuance because
the May 16 date conflicts with pre-existing travel plans for Defendant’s counsel. This is
Defendant’s first request for adjournment of the initial pre-trial conference, and Plaintiffs consent
to this request.

        We thank the Court for its attention to this matter.

      Application GRANTED. The initial pretrial conference is adjourned from May 16, 2019, to June 20, 2019, at 10:30 A.M.

      Dated: May 10, 2019
             New York, New York




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                                       Respectfully submitted,




                                       /s/ Christopher M. Egleson
                                       Nancy Chung
                                       Christopher M. Egleson
                                       Counsel for Louis Bacon

cc:      Counsel of Record (via ECF)
